Case 2:18-cv-05741-DMG-PLA Document 86 Filed 09/12/18 Page 1 of 3 Page ID #:3147



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 7
 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN
11
12   LUCAS R., by his next friend             Case No. 2:18-CV-05741 DMG PLA
     MADELYN R.; DANIELA MARISOL
13   T., by her next friend KATHERINE L.;     CLASS ACTION
     MIGUEL ANGEL S., by his next
14   friend GERARDO S.; GABRIELA N.,          PLAINTIFF’S NOTICE OF FILING
     by her next friend ISAAC N.; JAIME       OF REDACTED EXHIBITS IN
15   D., by his next friend REYNA D.; SAN     SUPPORT OF REPLY IN SUPPORT
     FERNANDO VALLEY REFUGEE                  OF MOTION FOR PRELIMINARY
16   CHILDREN CENTER, INC.;                   INJUNCTION RE: PLAINTIFF
     UNACCOMPANIED CENTRAL                    GABRIELA N.
17   AMERICAN REFUGEE
     EMPOWERMENT,
18                                            Complaint Filed: June 29, 2018
                     Plaintiffs,              Trial Date: None Set
19                                            Judge: Hon. Dolly M. Gee
           v.
20
     ALEX AZAR, Secretary of U.S.
21   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
22   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
23   Services,
24                   Defendants.
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                                                            NOTICE OF FILING REDACTED EXHIBITS
                                                              CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 86 Filed 09/12/18 Page 2 of 3 Page ID #:3148



 1         Pursuant to the Court’s order (ECF 80), Plaintiff hereby files redacted version
 2   of the following documents:
 3   No.   Description                                                                    Page(s)
 4
     35    Declaration of Paola Perez, August 31, 2018.................................... 327-329
 5
     37    Declaration of Gabriela N., August 23, 2018 .................................... 336-339
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                                                                     NOTICE OF FILING REDACTED EXHIBITS
                                                   1.
                                                                       CASE NO. 2:18-CV-05741 DMG PLA
Case 2:18-cv-05741-DMG-PLA Document 86 Filed 09/12/18 Page 3 of 3 Page ID #:3149



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                                                         NOTICE OF FILING REDACTED EXHIBITS
                                          2.
                                                           CASE NO. 2:18-CV-05741 DMG PLA
